      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 1 of 7




                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )
      v.                       )   CRIMINAL NO. 21-cr-10104-PBS
                               )
VLADISLAV KLYUSHIN             )
            Defendant          )
______________________________)

  SUPPLEMENTAL SUBMISSION IN OPPOSITION TO MEMORANDUM OF
         THE UNITED STATES IN SUPPORT OF DETENTION

       Now comes the defendant Vladislav Klyushin, by and through undersigned counsel,

and hereby respectfully submits the following supplement addressing issues that were raised

during the December 22, 2021 detention hearing.

       I.      London, U.K. Apartment.

       The London, United Kingdom apartment that Mr. Klyushin proposes to post in

order to secure the $1.5 million portion of his bond was purchased by Mr. Klyushin on

June 21, 2013 for £1,545,000. The property is held via Absolute Leasehold Title for a

term of 999 years that started on June 24, 1976. Based on a review of the title and the

existing mortgage by U.K. legal experts, the property could be mortgaged by this

Honorable Court to secure Mr. Klyushin’s bail, but the process could take a substantial

amount of time. In order to secure the funds necessary to post bail more quickly, the

defense proposes that with this Honorable Court’s permission Mr. Klyushin takes an

additional loan collateralized by the property and uses the proceeds of such loan to secure

his bail. Alternatively, Mr. Klyushin could sell the property and use the proceeds from

the sale to secure his bail. A copy of the U.K. deed has been provided to pretrial services.




                                                                                           1
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 2 of 7




        II.     Decision of the Switzerland Federal Criminal Court.

        The April 30, 2021 Switzerland Federal Criminal Court, Appeals Chamber

decision that found detention pending Mr. Klyushin’s extradition was warranted was

based on the presumption that defendants subject to extradition remain “in custody during

the entire extradition proceedings,” Decision at 4, and that the proposed monetary bail

package of 1,500,000 CHF (approximately $1,650,000) was insufficient. See Decision at

9 (“In order to avert the flight risk sufficiently, alternative measures for the arrest with a

view to extradition … are only considered suitable in combination with the payment of a

substantial bail amount …. [t]he bail in the amount of 1,500,000.00 CHF … is not to be

considered substantial.”). As an initial matter, Mr. Klyushin is no longer presumed

detained and has offered to post substantially more assets ($2.5 million) to secure his bail

during the pendency of these proceedings. Moreover, this Honorable Court is not

constrained by the bail package that the defense has proposed and can set a monetary bail

at any amount it believes appropriate. 18 U.S.C § 3142(c).

        While the Switzerland court noted that it could not confirm Mr. Klyushin’s

financial representations, Decision at 9, Mr. Klyushin declares that he has fully disclosed

his assets to pretrial services. Furthermore, as added assurance, Mr. Klyushin proposes

that this Honorable Court require, as a condition of bail and prior to his release, for him

to produce an audited financial statement prepared by a reputable United States based

accounting firm that also has offices in the Russian Federation (e.g., EY, Deloitte) that

could conduct a complete financial investigation to confirm his representations. The

Swiss court found that it could not “reliably ascertain” Mr. Klyushin’s financial

resources, however, no attempt to independently confirm Mr. Klyushin’s representations




                                                                                                 2
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 3 of 7




was ever made. This added condition would confirm the accuracy Mr. Klyushin’s

representations and the adequacy of the proposed monetary bail.

       III.    Russian Citizenship and Extradition.

       The Government argues that Mr. Klyushin’s Russian citizenship, a country with

which the United States has no extradition treaty, is largely dispositive on the issue of

bail. Bail determinations, however, require an individualized assessment of the person

standing before the Court. See e.g., Stack v. Boyle, 342 U.S. 1, 9 (1951) (“Each defendant

stands before the bar of justice as an individual…. [w]hile it might be possible that these

defendants are identical in financial ability, character and relation to the charge—

elements Congress has directed to be regarded in fixing bail—I think it violates the law

of probabilities. Each accused is entitled to any benefits due to his good record, and

misdeeds or a bad record should prejudice only those who are guilty of them. The

question when application for bail is made relates to each one’s trustworthiness to appear

for trial and what security will supply reasonable assurance of his appearance.”). Indeed,

“[t]he bail statute does not [] require that foreign defendants be detained simply because

their return cannot be guaranteed through extradition.” United States v. Hansen, 108 F.

App’x 331 (6th Cir. 2004) (affirming district court order of pretrial release of defendant,

a resident and citizen of Denmark – from where defendant could not be extradited –

charged with bulk cash smuggling and forfeiture).

       In United States v. Bodmer, No. 03 CR 947 (SAS), 2004 WL 169790, at *1

(S.D.N.Y. Jan. 28, 2004), for example, the defendant a “Swiss national who was arrested

while in South Korea on business” and who was charged with conspiring to violate the

Foreign Corrupt Practices Act and the Money Laundering Control Act, was released on a




                                                                                              3
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 4 of 7




$1 million bond when his assets totaled $2.4 million. The Government argued that the

defendant had “a strong incentive to flee because pursuant to Swiss law, the Swiss

government will not extradite Swiss nationals” and that the “Swiss government will not

recognize [defendant’s] written waiver of his right to avoid extradition.” Id. at *2. The

Government also argued that the defendant’s assets were substantially more than he

reported, in part, because he was a “Swiss attorney who specializes in offshore accounts

and complicated financial transactions [who] likely ha[d] offshore accounts himself.” Id.

The court rejected both of the Government’s arguments stating that the issue of

unreported assets was based on “mere speculation” and that being a citizen of a non-

extraditable country “alone cannot be a basis for denying bail because if taken to its

logical conclusion, no Swiss national would ever be eligible for bail.” Id. An additional

consideration for granting bail in Bodmer that is equally applicable here is the fact that

the defendant in Bodmer was facing serious criminal charges, discovery was expected to

be voluminous, and that pretrial release will make it “far easier for [defendant] to assist

his counsel in reviewing and responding to discovery if counsel has regular,

uninterrupted access to him.” Id. at *3. As an additional example, in United States v.

Khashoggi, 717 F. Supp. 1048, 1050-52 (S.D.N.Y. 1989), the court released on bail an

“enormously wealthy” Saudi Arabian defendant with limited ties to the United States

who was facing trial on mail fraud charges and who “remained abroad as a fugitive for

six months” until his arrest and extradition from Switzerland, despite the fact that there

was no extradition treaty in place with Saudi Arabia. Id. 717 F. Supp. at 1049. see also

Hung v. United States, 439 U.S. 1326, 1329 (1978) (Brennan, J.) (reversing a post-

conviction detention order of a Vietnamese national with limited ties to United States




                                                                                              4
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 5 of 7




even though “should applicant flee to Vietnam, the United States would have no means to

procure his return...”).

        Respectfully, the defense submits that there are conditions of release that could

reasonably assure Mr. Klyushin’s appearance. Mr. Klyushin has no passport and the

Russian consulate has confirmed that they will not issue any travel documents to Mr.

Klyushin during the pendency of these proceedings. See Letter from Embassy of the

Russian Federation, attached hereto as Supplemental Exhibit 1. He has no access to any

travel documents. The proposed conditions would require Mr. Klyushin to remain under

home confinement and be subject to GPS monitoring. He would only be allowed to see

approved visitors, have no access to electronic devices other than a regular phone which

he would consent to be monitored by the DOJ, and be subject to random searches. These

significant restraints would reasonably assure Mr. Klyushin’s appearance while allowing

him the opportunity to review what is likely to be voluminous discovery and to prepare

his defense to these complicated charges. The Government’s concerns about Mr.

Klyushin’s access to a yacht that could be used to facilitate flight are largely overstated.

It is difficult to imagine that Mr. Klyushin, while under significant restraint and

surveillance, could arrange such an escape. Regardless, this Honorable Court could, as a

condition of bail, require that Mr. Klyushin divest his ownership in the yacht. To the

extent the Government is concerned that Mr. Klyushin would reside in close proximity to

the Boston Harbor, the defense has also provided pretrial services with an alternative

apartment in Brookline, MA that could be rented immediately if Mr. Klyushin is ordered

released.

        Finally, while the defense does not believe that a private third-party trustee or




                                                                                               5
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 6 of 7




security company is reasonably necessary to ensure Mr. Klyushin’s appearance, courts

have released wealthy defendants who posed a substantial risk of flight under the

condition that the defendants retain, at no expense to the Government, a private third-

party custodian that could monitor the defendant 24/7 and ensure his appearance at court

proceedings. In United States v. Seng, 15-cr-706-VSB (S.D.N.Y.), for example, the court

released a Chinese national with no ties to the United States, who could not be extradited

from China if he fled, and who had enormous wealth (including private airplanes) on the

condition, inter alia, that he retain a private security company to monitor him and to

assure his appearance at trial. See Order, United States v. Seng, No. 15-cr-706 (S.D.N.Y.

Oct. 23, 2015), ECF No. 53 and ECF No. 44. Mr. Seng remained on bail for

approximately two years, did not miss a single court appearance, and was even allowed to

remain bailed in his apartment after he was convicted at trial and was awaiting

sentencing. See Order, Seng, No. 1 5-cr-706 (S.D.N.Y. July 27, 2017), ECF No. 570; see

also Order, Seng, No. 15-cr-706 (S.D.N.Y. Aug. 7,2017), ECF No. 616.1 In sum, there

are conditions that could mitigate concerns of flight and reasonably assure Mr.

Klyushin’s appearance short of pretrial detention. Accordingly, the defense respectfully

requests this Honorable Court to release Mr. Klyushin on the proposed bail conditions or

any other set of conditions this Honorable Court deems necessary and appropriate to

reasonably assure Mr. Klyushin’s appearance.




1
  The defendant in Seng, retained the company Guidepost Solutions, which also has an
office in Boston. The defense has been in contact with Guidepost Solutions, who are
ready and willing to provide the same 24/7 monitoring services to Mr. Klyushin.
Guidepost Solution is primarily staffed by former law enforcement officers, who have the
training and expertise to monitor Mr. Klyushin and to assure his appearance at trial.


                                                                                            6
      Case 1:21-cr-10104-PBS Document 29 Filed 01/04/22 Page 7 of 7




                                                    Respectfully Submitted,
                                                    Vladislav Klyushin,
                                                    By His Attorney,


                                                    /s/ Maksim Nemtsev
                                                    Maksim Nemtsev, Esq.
                                                    Mass. Bar No. 690826
                                                    20 Park Plaza, Suite 1000
                                                    Boston, MA 02116
                                                    (617) 227-3700
                                                    menemtsev@gmail.com

Dated: January 4, 2022




                            CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, January 4, 2022, a copy of
the foregoing documents has been served via Electronic Court Filing system on all

                                                    /s/ Maksim Nemtsev
                                                    Maksim Nemtsev




                                                                                          7
